                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    at CHATTANOOGA



 UNITED STATES OF AMERICA                          )
                                                   )           Case No. 1:10-cr-13-18
                                                   )
 v.                                                )           Collier / Lee
                                                   )
                                                   )
 ROSEMARY LAWSON                                   )



                             REPORT AND RECOMMENDATION



        Before the Court is the motion of Defendant Rosemary Lawson (“Defendant”) to suppress

 methamphetamine, paraphernalia, and currency obtained during a search after a traffic stop, as well

 as later statements she made admitting ownership of the evidence [Doc. 253].1 Although the

 Defendant initially made three arguments for suppression, during the hearing she conceded her

 motion rests on a single issue: whether the traffic stop was justified at its inception.2 After

 considering the testimony and the parties’ briefs, I find the officer who stopped Defendant had



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          The motion was referred for a report and recommendation pursuant to 28 U.S.C. §
 636(b)(1)(B) and (C) [Doc. 263]. The Government filed a response in opposition [Doc. 305] and
 an evidentiary hearing was held on June 8, 2010. The matter is now ripe for decision.
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            At the conclusion of the evidence, Defendant conceded that there was no evidence to
 support her initial arguments that the traffic stop was unreasonably prolonged and the detention
 became an arrest that was not supported by probable cause. Given Defendant’s concessions, it is
 not necessary to address in detail the officers’ testimony regarding events that transpired after the
 initial stop or Defendant’s now retracted arguments regarding same.


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 probable cause to believe Defendant had committed a traffic infraction, and I therefore

 RECOMMEND that Defendant’s motion to suppress [Doc. 253] be DENIED.

 I.     EVIDENCE ADDUCED AT THE HEARING

        As relevant to this recommendation, the Government offered the testimony of Detective

 Jimmy Smith (“Smith”), the Bradley County Sheriff’s Deputy who stopped Defendant’s vehicle.

 I FIND Smith’s testimony to be credible. Smith testified as follows: On January 20, 2010, Smith

 was driving his unmarked car on Old Tasso Road, traveling back to the Bradley County Jail after

 supervising a controlled purchase of narcotics earlier that day. The suspect targeted in the controlled

 purchase, whom the officers did not intend to arrest that day, had sold methamphetamine to a

 confidential informant (“CI”). The suspect was driving a green Chevrolet Blazer at the time of the

 controlled purchase with distinctive detailing on the side panels.

        Less than an hour later, not far from the Bradley County Jail, Smith observed Defendant’s

 vehicle on Old Tasso Road. Old Tasso Road has two lanes of travel (one northbound and one

 southbound) separated by a double yellow line. At certain points, it also has a third lane designated

 as a turning lane. When Smith first observed Defendant, she was driving her vehicle astraddle of

 the painted line separating the turning lane from the rightmost (northbound) lane on Old Tasso Road.

 As Defendant crested a small hill, the turning lane ended, but Defendant’s vehicle remained only

 halfway in the northbound lane. The other half of her vehicle was then in the leftmost (southbound)

 lane, straddling the double yellow line. There was no obstruction in the northbound lane, and the




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 roadway was wide enough that a vehicle could stay within a single lane.3 While following

 Defendant, Smith did not have any difficulty keeping his car in the northbound lane. Defendant’s

 vehicle was outside the northbound lane for a total of about 50 to 100 feet before an oncoming

 vehicle forced her to move over. Smith immediately suspected the driver was intoxicated.

        Defendant remained in the northbound lane as Smith followed her. At some point, Smith

 realized that Defendant’s vehicle appeared to be same green Chevrolet Blazer that was involved in

 the controlled purchase. Approximately one half mile north of the spot where Smith first observed

 Defendant, Old Tasso Road again broadens into three lanes, with a middle lane for turning. There,

 Defendant again drove her vehicle half in the turning lane and half in the northbound lane. Smith

 moved to the far right of the road, where he and his passenger, Detective Carl Maskew, were able

 to see the Blazer’s distinctive detailing and confirm Defendant’s vehicle was indeed the same

 vehicle that had been involved in the controlled purchase earlier that day. Partly because of this

 realization, and partly because Smith believed he had observed a traffic infraction, Smith decided

 to stop Defendant’s vehicle.

        Smith activated his lights and Defendant immediately pulled over. While Smith was issuing

 a traffic citation under Tenn. Code. Ann. § 55-8-115 for “failure to maintain lane of travel,” another

 officer arrived and ran a drug dog around the vehicle. The dog alerted to the presence of narcotics,

 and the car was then searched. In Defendant’s purse was a black bag containing methamphetamine,

 some pills, and approximately $1200 in currency, including bills that had been used in the earlier


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         Photographs of the road at the approximate location where Smith first observed Defendant
 were admitted into evidence as Government’s Exhibits 1 and 2, and photographs of the road where
 Smith stopped Defendant were admitted as Defendant’s Exhibit 1. Government’s Exhibit 3 is a
 photograph of Defendant’s vehicle showing the distinctive detailing.

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 controlled purchase. Defendant was then arrested and was read her Miranda rights. She then signed

 a waiver and gave incriminating statements.

 II.    ANALYSIS

        Defendant seeks to suppress the evidence found in her vehicle and her statements, claiming

 the traffic stop was unlawful at its inception. In response, the Government contends that Smith had

 probable cause to believe Defendant had committed a traffic infraction.4 Smith cited Defendant for

 a violation of Tenn. Code Ann. § 55-8-115(a), which provides:

        Upon all roadways of sufficient width, a vehicle shall be driven upon the right half
        of the roadway, except as follows: (1) When overtaking and passing another vehicle
        proceeding in the same direction under the rules governing such movement; (2)
        When the right half of a roadway is closed to traffic while under construction or
        repair; (3) Upon a roadway divided into three (3) marked lanes for traffic under the
        applicable rules thereon; or (4) Upon a roadway designated and signposted for one-
        way traffic.

 Defendant argues that this section applies only to unlaned roads and that travel on laned roads is

 governed by Tenn. Code Ann. § 55-8-123, which provides:

        Whenever any roadway has been divided into two (2) or more clearly marked lanes


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           An officer may initiate a traffic stop when she has probable cause to believe that a civil
 infraction has occurred or when she has reasonable suspicion of a completed or ongoing felony or
 an ongoing misdemeanor. United States v. Blair, 524 F.3d 740, 748 (6th Cir. 2008); United States
 v. Simpson, 520 F.3d 531, 539-41 (6th Cir. 2008) (quoting Gaddis v. Redford Twp., 364 F.3d 763
 (6th Cir. 2004)). Reasonable suspicion of a completed misdemeanor will not support a traffic stop,
 however. Simpson, 520 F.3d at 539 (distinguishing United States v. Freeman, 209 F.3d 464 (6th Cir.
 2000)). In Freeman, the court held that a stop was invalid where police lacked probable cause to
 stop a vehicle for failure to stay in its lane. 209 F.3d at 466. Simpson, however, clarified that the
 Freeman driver’s “drifting” out of his lane of travel was a single, isolated incident, and as such was
 “completed” before the stop was initiated. 520 F.3d at 541. There is no dispute that the traffic
 infraction observed here, if any, was a Class C misdemeanor under state law. Tenn. Code Ann. §
 55-8-103. By arguing that probable cause is the controlling standard here, the Government has
 waived any argument that there was an ongoing misdemeanor traffic violation of which reasonable
 suspicion would suffice to support the traffic stop.

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        for traffic, the following rules, in addition to all others consistent with this section,
        shall apply: (1) A vehicle shall be driven as nearly as practicable entirely within a
        single lane and shall not be moved from that lane until the driver has first ascertained
        that the movement can be made with safety . . . .

 Relying on United States v. Freeman, Defendant argues that Smith lacked probable cause to believe

 she failed, “as nearly as practicable,” to remain in a single lane. See 209 F.3d 464, 466 (6th Cir.

 2000) (holding that “one isolated incident of a large motor home partially weaving into the

 emergency lane for a few feet and an instant in time” is not probable cause to believe that the driver

 failed “to keep the vehicle within a single lane ‘as nearly as practicable.’”).

        If the “nearly as practicable” standard were applicable here, this might be a closer case. The

 violation for which Defendant was cited, however, contains no such qualifying language; it states

 flatly that where the road is sufficiently wide, “a vehicle shall be driven upon the right half of the

 roadway . . . .” Tenn. Code Ann. § 55-8-115(a) (emphasis added). I CONCLUDE section 55-8-

 115(a) applies to both laned and unlaned roads. By its terms, the provision applies to “all

 roadways.” In addition, section 55-8-123 explicitly states it is not the exclusive provision governing

 travel on laned roads: it requires motorists to comply with “all other[]” rules consistent with it.

 Section 55-8-115 is consistent with and complementary to section 55-8-123. For example, on

 roadways with two lanes of travel in each direction, section 55-8-115 requires, without qualification,

 that motorists stay on the right half of the roadway, while section 55-8-123 requires motorists to stay

 within a single lane “as nearly as practicable.” Swerving between two lanes while remaining on the

 right half of the roadway would not violate the former section, but it might violate the latter.

        Smith testified credibly that he observed Defendant’s vehicle straddling the double yellow

 line dividing the roadway, on a road that was sufficiently wide to accommodate travel in a single


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 lane. This observation provided Smith with probable cause to believe Defendant had violated Tenn.

 Code Ann. § 55-8-115. See United States v. Brown, 2007 WL 1345463, at *7 (E.D. Tenn. 2007)

 (finding probable cause that a violation of section 55-8-115 had occurred where officer observed

 defendant driving in center turn lane). The traffic stop was therefore justified at its inception, and

 accordingly, I RECOMMEND5 that Defendant’s motion to suppress [Doc. 253] be DENIED.


                                                s/Susan K. Lee
                                                SUSAN K. LEE
                                                UNITED STATES MAGISTRATE JUDGE




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          Any objections to this report and recommendation must be served and filed within fourteen
 (14) days after service of a copy of this recommended disposition on the objecting party. Such
 objections must conform to the requirements of Rule 59(b)(2) of the Federal Rules of Criminal
 Procedure. Failure to file objections within the time specified waives the right to appeal the district
 court’s order. Thomas v. Arn, 474 U.S. 140, 149 n.7 (1985). The district court need not provide de
 novo review where objections to this report and recommendation are “frivolous, conclusive or
 general.” Mira v. Marshall, 806 F.2d 636, 637 (6th Cir. 1986) (internal quotation marks and citation
 omitted). Only specific objections are reserved for appellate review. Smith v. Detroit Fed'n of
 Teachers, 829 F.2d 1370, 1373 (6th Cir. 1987).

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